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 6
 7                                    UNITED STATES DISTRICT COURT
 8                                        DISTRICT OF ARIZONA
 9 HKB, Inc., an Arizona Corporation, dba           No. 2:16-cv-03799
   Southwest Industrial Rigging,                    No. 2:17-cv-00198
10
                         Plaintiff,                 AMENDED MOTION FOR
11 v.                                               SUMMARY JUDGMENT
12 Board of Trustees for the Southwest              (STATUTE OF LIMITATION)

13 Carpenter’s Southwest Trust; et al.,             Oral Argument requested
14                       Defendants.
   Board of Trustees for the Southwest              (Assigned to the Honorable Diane J.
15 Carpenter’s Southwest Trust; et al.,             Humetawa)

16                                   Plaintiffs,
17 v.
18 HKB, Inc., an Arizona Corporation, dba
   Southwest Industrial Rigging, et al.
19
20                                   Defendants.
21
22            Plaintiff HKB, Inc., dba Southwest Industrial Rigging (“Southwest”) moves for

23 summary judgment against defendants Board of Trustees for the Southwest Carpenter’s
24 Southwest Trust and Carpenters Southwest Administrative Corp. (collectively, the
25 “Funds”) because their claims are barred by the one-year statute of limitation contained
26 in A.R.S. § 12-541. Through this lawsuit, the Funds seek to be paid for work performed
27 by Southwest’s non-union employees from September 2013 through December 2014,
28 but the Funds always knew that Southwest only paid for work performed by union

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 1 carpenters, not for work performed by Southwest’s non-union employees, so the claim
 2 was barred within one year after the work was performed. At the very latest, the Funds
 3 knew the basis for their claim on October 26, 2015 when they performed an onsite audit
 4 of Southwest’s records. Nevertheless, the Funds did not file their lawsuit until October
 5 28, 2016, so Southwest’s claim is time barred.
 6 1.         Long after the relevant work was completed, the Funds seek to impose
              obligations that Southwest never agreed to.
 7
              Southwest is a construction-related company that, among other things, performs
 8
     maintenance and repair work at the Palo Verde Nuclear Generating Station just west of
 9
     Phoenix (the “Power Plant”) twice a year for 4-6 weeks at a time. 1 Southwest had
10
     previously used carpenters provided by the Southwest Regional Council of Carpenters
11
     (the “Union”) to supplement its workforce for the maintenance and repair work at the
12
     Power Plant.2
13
              The Funds collect payment for various vacation, retirement, and training plans
14
     for the Union members’ benefits. Southwest paid the carpenters (and the Funds) for the
15
     temporary work actually performed by them, but nothing beyond the work actually
16
     provided by the union employees at the Power Plant.3
17
              Several years after Southwest first began hiring and paying for services provided
18
     by the Union’s carpenters, the Funds performed an “audit” regarding Southwest’s
19
     payments to the Funds.4 As a result of the audit, the Funds demanded that Southwest
20
     make additional payments in excess of $490,000, for various health-care, training,
21
     vacation, and pension funds.5 This payment demand was not based upon any work
22
     performed by the Union’s carpenters.6 Rather, the Funds demanded payment solely
23
24
25   1
     Statement of Facts (“SOF)” ¶ 1.
     2
     SOF ¶ 2.
26 3 SOF ¶ 3.
   4
27 5 SOF ¶ 4.
     SOF ¶ 5.
   6
28 SOF ¶ 6.
     CORE/3008422.0002/132034034.2
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 1 based upon services performed by Southwest’s own employees.7 Apparently, the Funds
 2 interpreted the “Southwest Regional Council of Carpenters – Carpenters Memorandum
 3 2012-2016” (the “Memorandum”), as requiring Southwest to pay the Funds for work
 4 performed by Southwest non-union employees.
 5            Southwest’s employees are not members of and have no affiliation with the
 6 Union.8 Nevertheless, the Funds claimed one of the documents incorporated into the
 7 Memorandum says Southwest must pay the Funds for all work performed by
 8 Southwest’s employees even though they are not union members and do not receive
 9 union benefits.9 In other words, the Funds’ claim that because Southwest hired union
10 carpenters for temporary work at the Power Plant, Southwest is required to pay the
11 Funds for all work performed year-round by Southwest’s non-union employees. As
12 explained in detail below, this claim is untimely because the Funds filed this lawsuit
13 October 28, 2016—one year and two days after conclusively discovering the basis for
14 its claim through an onsite audit.
15            Southwest maintains that it is not bound by the Memorandum, but this motion
16 disposes of the Fund’s claim based solely on the statute of limitation.
17 2.         The Funds’ claim is barred by Arizona’s one-year statute of limitation.
18            Although the Funds’ claim arises from federal ERISA statutes, “ERISA itself

19 does not contain a statute of limitations applicable to [Southwest’s] claims. Therefore,
                                                                          10
20 the Court must borrow the most analogous state statute of limitations.” As this Court
21 concluded in a prior case, Arizona’s “one-year period applicable to ‘employment
22 contract’ disputes is the most analogous state statute of limitations for [ERISA]
           11
23 claims.” The California district court, as part of its venue analysis when transferring
24 this case to Arizona, likewise observed that “the statute of limitations [for this case] is
25
     7
     SOF ¶ 7.
26   8
     SOF ¶ 8.
   9
27 10SOF ¶ 9.
      Blood Sys., Inc. v. Roesler, 972 F. Supp. 2d 1150, 1154 (D. Ariz. 2013).
   11
28    Blood Sys., Inc., 972 F. Supp. 2d at 1154 (citing A.R.S. § 12-541).
     CORE/3008422.0002/132034034.2
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 1 governed by Arizona law.”12
 2            There are at least four different events that cause the claim to accrue and trigger
 3 the statute of limitation. Each of these events occurred more than a year before the
 4 Funds filed their lawsuit. Thus, no matter which date is used, the Funds claim is
 5 untimely.
 6            A.       The Funds’ claim is not subject to the discovery rule, so the claim
                       accrued as the work was performed.
 7
              “As a general matter, a cause of action accrues, and the statute of limitations
 8
     commences, when one party is able to sue another. The traditional construction of that
 9
     rule has been that the period of limitations begins to run when the act upon which legal
10
     action is based took place, even though the plaintiff may be unaware of the facts
11
     underlying his or her claim.”13 That rule has been modified in some instances by the
12
     discovery rule, but “the discovery rule does not apply to cases where the plaintiff's
13
     injury is open and obvious.”14
14
              Southwest’s nonpayment to the Funds was clearly open and obvious. That is, the
15
     Funds certainly knew that they were not receiving monthly payments for Southwest’s
16
     employees. As such, “the cause of action accrues and the statute of limitations begins to
17
     run when the debt becomes due.”15 Under the relevant documents, the Funds’ claim for
18
     payment arose automatically every month, without any action being required by the
19
     Funds or Southwest. “Each contribution to the Fund shall be made promptly, and in any
20
     event on or before the 25th day of the calendar month.”16 Relevant here, the Funds are
21
     12
22      U.S. District Court of Arizona – 2:17-cv-00198 (formerly Central District of
     California CV-16-8040-MWF (SKx)) Civil Minutes—General p.8 (1/17/17), Exhibit 2.
     13
23      Gust Rosenfeld v. Prudential Ins., 182 Ariz. 586, 588, 898 P.2d 964, 966 (1995).
     14
        Gust Rosenfeld,182 Ariz. at 589, 898 P.2d at 967; Premium Cigars Intern., Ltd. v.
24   Farmer-Butler-Leavitt Ins. Agency, 208 Ariz. 557, 572, 96 P.3d 555, 570 (App. 2004).
     15
        Cheatham v. Sahuaro Collection Serv., 118 Ariz. 452, 454, 577. P.2d 738, 740 (App.
25   1978).
     16
        Amended and Restated Trust Agreement Establishing the Southwest Carpenters
26
     Health and Welfare Trust Article III, Section 3; Amended and Restated Trust
27   Agreement Establishing the Southwest Carpenters Pension Trust Article III, Section 3;
     Amended and Restated Trust Agreement Establishing the Southwest Carpenters
28   Vacation Trust Article III, Section 3; Amended and Restated Trust Agreement
     CORE/3008422.0002/132034034.2
                                                   4
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 1 seeking payment for work performed by Southwest employees from September 1, 2013
 2 through December 31, 2014.17 Southwest’s nonpayment during at that time was all that
 3 was necessary for the claim to accrue and the statute of limitations to begin. So the
 4 Funds’ claim is time-barred as a matter of law.
 5            B.       Even with the discovery rule, the Funds’ claim is untimely because the
                       claim accrued each month.
 6
              Even if the Funds’ claim is subject to the discovery rule (it is not), the claim is
 7
     still untimely. For a claim to accrue, “the aggrieved party need not have actual notice of
 8
     the [breach] to start the running of the statute, but, if the facts and circumstances were
 9
     such as in the exercise of reasonable care and diligence he should have discovered the
10
     [breach], he is deemed to have notice.”18 Put another way, claims accrue when a
11
     plaintiff “suspects” the cause of action exists, even without all the facts.19 And “a
12
     party’s failure to assert a cause of action does not mean that the cause of action has not
13
     accrued.”20
14
              The Funds have always known that Southwest had non-union employees. Indeed,
15
     Southwest only hired Union workers to temporarily supplement Southwest’s existing
16
     workforce on the Power Plant.21 Moreover, when purportedly signing the
17
     Memorandum, Tom Allen explicitly stated what the Union already knew—that
18
     Southwest had 200 employees of its own.22 Thus, if Southwest was to be contractually
19
     obligated to pay the Funds for work performed by Southwest’s non-union employees,
20
21 Establishing the Southwest Carpenters Health and Welfare Trust Article III, Section 3;
   Amended and Restated Trust Agreement Establishing the Southwest Carpenters
22 Training Trust Article III, Section 3, Exhibit 3.
   17
       Central District of California CV-16-8040-MWF (SKx) Complaint ¶ 31 (10/28/16).
23 18
      In re Cassidy’s Estate, 77 Ariz. 288, 295, 270 P.2d 1079, 1084 (1954).
   19
24    Thompson v. Pima County, 226 Ariz. 42, 46-47, 243 P.3d 1024, 1028-29 (App. 2010)
   (claim accrued when plaintiff “suspected” the cause of her injury even though she did
25 not yet know all the facts).
   20
      Cheatham v. Sahuaro Collection Serv, 118 Ariz. 452, 454, 577 P.2d 738, 740 (App.
26 1978).
   21
27    SOF ¶ 4; Friedman v. Nagin, 270 A.D. 503, 505, 60 N.Y.S.2d 620, 622 (App. Div.
   1946) (“[An] assignee stands in the shoes of his assignors and their knowledge is his.”).
   22
28    See Exhibit 1, Declaration of James Douglas Wilson, at Exhibit A.
     CORE/3008422.0002/132034034.2
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 1 the Funds knew at the very outset that such payment would be due.
 2            The Funds have likewise always known that Southwest was not paying the Funds
 3 for work performed by Southwest’s non-union employees. Under the terms of the trust
 4 documents, the Funds were to be paid monthly. “Each contribution to the Fund shall be
 5 made promptly, and in any event on or before the 25th day of the calendar month.”23
 6            Southwest paid the Funds for work performed by Union carpenters during the 4-
 7 6 weeks that the Southwest performed maintenance work on the Power Plant, but
 8 Southwest never paid the Funds at any other time in the year. 24 What’s more, Southwest
 9 never paid the Funds for work performed by Southwest’s own employees.25 Thus, the
10 Funds have always known (or should have known) that they were not receiving
11 payment for work performed by Southwest's employees. Again, the claim at issue in this
12 lawsuit is for work performed through December 31, 2014. The Funds plainly knew that
13 they had not received monthly payments for work performed by Southwest’s employees
14 during this time. Thus, the Funds’ claim accrued each month after the work was
15 performed, so this lawsuit is untimely.
16            C.       The Funds’ claim had accrued by the time the Funds sought an audit of
                       Southwest’s non-union employees.
17
               “A plaintiff is deemed to have had constructive knowledge if [he or she] had
18
     enough information to warrant an investigation which, if reasonably diligent, would
19
     have led to discovery of the [claim].”26 Knowing that Southwest had not paid for any
20
     services performed by Southwest’s non-union employees, the Funds requested
21
     23
22       Amended and Restated Trust Agreement Establishing the Southwest Carpenters
     Health and Welfare Trust Article III, Section 3; Amended and Restated Trust
23   Agreement Establishing the Southwest Carpenters Pension Trust Article III, Section 3;
     Amended and Restated Trust Agreement Establishing the Southwest Carpenters
24   Vacation Trust Article III, Section 3; Amended and Restated Trust Agreement
     Establishing the Southwest Carpenters Health and Welfare Trust Article III, Section 3;
25   Amended and Restated Trust Agreement Establishing the Southwest Carpenters
     Training Trust Article III, Section 5.
26   24
        SOF ¶ 10.
     25
27      SOF ¶ 11.
     26
        Marceau v. International Broth. of Elec. Workers, 618 F. Supp. 2d 1127, 1146 (D.
28   Ariz. 2009)
     CORE/3008422.0002/132034034.2
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 1 documents from Southwest’s records. With its response, dated May 28, 2015,
 2 Southwest produced requested records, including a “Master Control” document, which
 3 contained compensation information of individuals who worked on Southwest projects,
 4 including both Southwest employees and Union members.27 When producing the
 5 Master Control, Southwest redacted the names and social security numbers of its non-
 6 union employees but allowed the Funds to see their job titles, hours, and other
 7 compensation information:28 “Attached find our master control for 2014, attachment
 8 includes pages with the Carpenters Union employees only. I have blacked out non
 9 Carpenters Union employees names and SS# to protect their information.”29
10            To the extent that the Funds’ claim had not accrued before (it had), there can be
11 no doubt it accrued at this point. It was now even more of a certainty that non-union
12 Southwest employees were performing work for which, according to the Funds’
13 interpretation of the underlying documents, Southwest should have, but did not pay. In
14 other words, since the Funds knew that they had not been paid for work performed by
15 Southwest’s employees, they knew enough to make further inquiry. Because they knew
16 enough to inquire further, the Funds’ claim had accrued. Indeed, the Funds ultimately
17 asserted their claim against Southwest solely based upon the work performed by
18 Southwest’s employees and their hours logged, information that Southwest produced
19 when it disclosed the Master Control in May 2015.30
20            Realizing they had a claim to be made, the Funds continued to press Southwest
21 for more information regarding Southwest’s non-union employees. Specifically, by
22 letter dated June 4, 2015, they sought (1) a “List of all jobs” performed by Southwest
23 (not just the Power Plant job), (2) the “Payroll journals on all jobs,” and (3) Copies of
24 W-2s.31 The Funds’ demand for this information clearly demonstrates that the Funds
25
     27
      Exhibit 4, Email from Xonia Ornelas to Yolanda Duke (5/28/15).
26   28
      Id.
   29
27 30 Id.
      Exhibit 4.
   31
28    Letter from Yolanda Duke to Southwest (6/4/15), Exhibit 5.
     CORE/3008422.0002/132034034.2
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 1 knew or at least had significant suspicions regarding their claim. Said differently, the
 2 Funds were expressly targeting work performed by Southwest’s non-union employees,
 3 which necessarily means that the Funds believed that a claim could be made. Indeed, the
 4 Funds even threatened to commence legal action against Southwest at that time.
 5 “Failure to respond will result in this matter being referred to the [Fund’s] attorney.”32
 6            Again, “accrual requires only actual or constructive knowledge of the fact of
 7 damage, [not the] calculated amount of damage.”33 The Funds’ audit demand
 8 demonstrates that the Funds had enough information to cause them to investigate (and
 9 threaten legal action), which means the claim accrued by, at the latest, June 4, 2015.
10 Since they did not file this lawsuit until 16½ months later, their claim is barred by the
11 one-year statute of limitation.
12            D.       The Funds’ claim accrued when the Funds conducted an on-site audit
13                     of Southwest’s records.

14            As a follow-up to their demand for more information, on October 26, 2015, the

15 Funds sent a representative to Southwest’s corporate office to perform an onsite audit of
                        34
16 Southwest’s records. During the on-site audit, the Funds’ representative inspected a
17 copy of the Master Control, but this time the auditor could see the names of Southwest
                                                 35
18 employees that had previously been redacted. At this point, the Funds not only knew
19 the job title, hours, and compensation of Southwest’s employees, they knew each
20 employee’s name. The Funds cited this information from their audit as their basis for
21 concluding that Southwest owed them money: “[The Funds] completed an audit of the
22 Plaintiffs contributions to the Trust Funds, which showed that the Plaintiffs Trust Funds
                                .”36
23 contributions were delinquent Thus, the Funds knew enough to bring their claim as of
24
     32
      See Exhibit 5.
25   33
       CDT, Inc. v. Addison, Roberts & Ludwig, C.P.A., P.C., 198 Ariz. 173, 177, 7 P.3d
   979, 983 (App. 2000).
26 34 SOF ¶ 12.
   35
27 36 SOF ¶ 13.
       Defendants' Motion to Dismiss Pursuant to FRCP 12(B)(3), (6), (7), or, in the
28 Alternative, to Stay Action 3:12-13 (Doc 14).
     CORE/3008422.0002/132034034.2
                                                 8
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 1 October 26, 2015.
 2            Of course, the Funds’ claim accrued long before it sent an auditor to Southwest’s
 3 headquarters. “[A]accrual requires only … constructive knowledge of the fact of
 4 damage, [not knowledge of the] amount of damage.”37 But even after the Funds’
 5 awareness of their claim progressed from constructive knowledge (which is itself
 6 sufficient to bring a claim) to actual knowledge on October 26, 2016, the Funds waited
 7 more than a year to file suit. When they finally filed on October 28, 2016, their claim
 8 was untimely.
 9 3.         Conclusion.
10            Long after the relevant work was completed in December of 2014, the Funds are

11 seeking to impose an obligation that Southwest never agreed to. Even if the claim was
12 otherwise legitimate (it is not), it is time barred. The Funds’ claim is not subject to the
13 discovery rule, so the claim automatically accrued when the work was performed (i.e.
14 September 2013-December 2014). What’s more, the Union has always known that
15 Southwest had its own employees, so they knew or should have known of the unpaid
16 claim within a month after the work was performed. They also knew of the claim when
17 they expressly referenced Southwest employees as of June 4, 2015, and they had actual
18 knowledge of their claim when they discovered the actual names of Southwest’s
19 employees during their onsite audit of Southwest’s records on October 26, 2015. Thus,
20 the Funds’ claim was time-barred (in spades) when they filed their lawsuit October 28,
21 2016. Accordingly, Southwest is entitled to and respectfully requests that the Court
22 grant summary judgment dismissing the Funds’ claims.
23 . . . .
24
   . . . .
25
   . . . .
26
27   37
     CDT, Inc. v. Addison, Roberts & Ludwig, C.P.A., P.C., 198 Ariz. 173, 177, 7 P.3d
28 979, 983 (App. 2000).
     CORE/3008422.0002/132034034.2
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 1            RESPECTFULLY SUBMITTED 15th day of March 2017.
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 3
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                                     CERTIFICATE OF SERVICE
 1
 2            I hereby certify that on March 15, 2017 I caused the foregoing document to be

 3 filed electronically with the Clerk of Court through ECF; and that ECF will send an e-
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